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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

LISA E. HILL-GREEN,                           :
                                              :
                       Plaintiff,             :
                                              :
v.                                            :      Civil Action No. 3:18-cv-00873
                                              :
CITIMORTGAGE, INC.,                           :

                       NOTICE OF FILING OF JOINT STATEMENT

         Plaintiff, Lisa E. Hill-Green, and Defendant, CitiMortgage, Inc. (“CMI”) (together, the

“Parties”), pursuant to this Court’s Initial Pretrial Order (Dkt. No. 26), submit this Notice of

Filing of Joint Statement regarding Plaintiff’s outstanding discovery disputes arising from CMI’s

discovery responses to Plaintiff’s first set of interrogatories and requests for production of

documents.

         The Parties’ discovery charts outlining the current discovery disputes are attached as

Exhibit 1. In addition, Plaintiff’s counsel and Defendant’s counsel certify that they have met and

conferred in a good-faith attempt to resolve the discovery issues outlined in the discovery chart.

         These efforts included several phone calls among counsel. On April 2, 2019, Plaintiff’s

counsel, Kristi Kelly and Andrew Guzzo, spoke with CMI’s attorney, Adam Shaw, regarding

discovery. Ms. Kelly and Casey Nash spoke with Mr. Shaw again on April 9, 2019 and conferred

regarding CMI’s objections to Plaintiffs’ discovery requests. On May 2, 2019, Ms. Kelly, Mr.

Guzzo, Leonard Bennet, and Elizabeth Hanes met and conferred with Mr. Shaw regarding the

Parties’ discovery charts. The Parties had a final call on May 17, 2019. In addition to these calls,

counsel also communicated by e-mail in attempting to narrow and resolve the disputes, including

on May 8, 2019, May 10, 2019, and May 15, 2019.
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                                 Respectfully submitted,
                                 LISA E. HILL-GREEN


                                 By:     /s/ Kristi C. Kelly
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                                 CITIMORTGAGE, INC.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of May, 2019, I will electronically file the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to all counsel of record.



                                                      /s/ Kristi C. Kelly
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